Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20             Page 1 of 70 PageID 8747



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                  §
  AMERICA,                                       §
                                                 §
         Plaintiff and Counter-Defendant         §
                                                 §
  and                                            §
                                                 §
  WAYNE LAPIERRE,                                §
                                                 § Civil Action No. 3:19-cv-02074-G
         Third-Party Defendant,                  §
                                                 §
  v.                                             §
                                                 §
  ACKERMAN MCQUEEN, INC.,                        §
                                                 §
         Defendant and Counter-Plaintiff,        §
                                                 §
  MERCURY GROUP, INC., HENRY
                                                 §
  MARTIN, WILLIAM WINKLER,
                                                 §
  MELANIE MONTGOMERY, and JESSE
                                                 §
  GREENBERG,
                                                 §
                                                 §
         Defendants.
                                                 §


APPENDIX IN SUPPORT OF DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION
 TO DISQUALIFY THE LAW FIRM DORSEY & WHITNEY LLP AS COUNSEL FOR
   DEFENDANTS AND FOR OTHER APPROPRIATE SANCTIONS AND RELIEF

        Defendants, Ackerman McQueen, Inc., Mercury Group, Inc., Henry Martin, William

Winkler, Melanie Montgomery, and Jesse Greenberg, offer the following evidence in support of

Defendants’ Response to Plaintiff’s Motion to Disqualify the Law Firm of Dorsey & Whitney LLP

as Counsel for Defendants and for Other Appropriate Sanctions and Relief (ECF 127):

  EX                               DESCRIPTION                                    APPX

 A       Declaration of Brian E. Mason, dated May 21, 2020                     APP001-
                                                                               APP002



APPENDIX IN SUPPORT OF DEFENDANTS’ RESPONSE TO
PLAINTIFF’S MOTION TO DISQUALIFY                                                      PAGE 1
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20             Page 2 of 70 PageID 8748



 A-1.    NRA Seeks to Renew Objections to Former Ad Agency’s Production of APP003-
         Documents, Citing Privilege (May 18, 2020)                        APP004

 A-2.    Feb. 11, 2020 Letter from Virginia counsel to Brewer Firm (Filed under APP005-
         seal)                                                                  APP006

 A-3.    Feb. 10, 2020 Letter from Virginia counsel to Brewer Firm (Filed under APP007-
         seal)                                                                  APP008

 A-4.    Kitchen Cabinet Agenda dated October 24, 2018 (Filed under seal)     APP009-
                                                                              APP011

 B       Declaration of G. Michael Gruber                                     APP012-
                                                                              APP018

 C       Declaration of John Popp                                             APP019-
                                                                              APP022

 D       Declaration of Nader Tavangar                                        APP023-
                                                                              APP029

 E       Declaration of Revan McQueen                                         APP030-
                                                                              APP032

 F       Declaration of Randall Johnston                                      APP033-
                                                                              APP064




APPENDIX IN SUPPORT OF DEFENDANTS’ RESPONSE TO
PLAINTIFF’S MOTION TO DISQUALIFY                                                     PAGE 2
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 3 of 70 PageID 8749



Dated: May 21, 2020                                  Respectfully submitted,


                                                     /s/ G. Michael Gruber
                                                     G. Michael Gruber, Esq.
                                                     Texas Bar No. 08555400
                                                     gruber.mike@dorsey.com
                                                     Jay J. Madrid, Esq.
                                                     Texas Bar No. 12802000
                                                     madrid.jay@dorsey.com
                                                     J. Brian Vanderwoude, Esq.
                                                     Texas Bar No. 24047558
                                                     vanderwoude.brian@dorsey.com
                                                     Brian E. Mason, Esq.
                                                     Texas Bar No. 24079906
                                                     mason.brian@dorsey.com

                                                     DORSEY & WHITNEY LLP
                                                     300 Crescent Court, Suite 400
                                                     Dallas, Texas 75201
                                                     (214) 981-9900 Phone
                                                     (214) 981-9901 Facsimile

                                                     ATTORNEYS FOR DEFENDANTS




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically
served via the Court’s electronic case filing system upon all counsel of record on this 21st day of
May 2020:

                                             /s/G. Michael Gruber
                                             G. Michael Gruber




APPENDIX IN SUPPORT OF DEFENDANTS’ RESPONSE TO
PLAINTIFF’S MOTION TO DISQUALIFY                                                            PAGE 3
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 4 of 70 PageID 8750




                       EXHIBIT A
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 5 of 70 PageID 8751



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                    §
  AMERICA,                                         §
                                                   §
             Plaintiff and Counter-Defendant       §
                                                   §
  and                                              §
                                                   §
  WAYNE LAPIERRE,                                  §
                                                   § Civil Action No. 3:19-cv-02074-G
             Third-Party Defendant,                §
                                                   §
  v.                                               §
                                                   §
  ACKERMAN MCQUEEN, INC.,                          §
                                                   §
             Defendant and Counter-Plaintiff,      §
                                                   §
  MERCURY GROUP, INC., HENRY
                                                   §
  MARTIN, WILLIAM WINKLER,
                                                   §
  MELANIE MONTGOMERY, and JESSE
                                                   §
  GREENBERG,
                                                   §
                                                   §
             Defendants.
                                                   §


                             DECLARATION OF BRIAN E. MASON

        Pursuant to 28 U.S.C. § 1746, I, Brian E. Mason, hereby declare as follows:

        1.       My name is Brian E. Mason. I am over eighteen years of age. I have never been

convicted of a felony or misdemeanor involving moral turpitude. I am fully competent to make

this declaration. I am a lawyer at Dorsey & Whitney, LLP and counsel of record for Ackerman

McQueen, Inc., Mercury Group, Inc., Henry Martin, William Winkler, Melanie Montgomery, and

Jesse Greenberg (collectively, “Defendants”) in the above-captioned matter. I have personal

knowledge of the facts set forth in this declaration and acknowledge them to be true and correct.




DECLARATION OF BRIAN E. MASON                                                              PAGE 1
                                                                                        APP001
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 6 of 70 PageID 8752



       2.      Attached hereto as Exhibit A-1 is a true and correct copy of NRA Seeks to Renew

Objections to Former Ad Agency’s Production of Documents, Citing Privilege (May 18, 2020).

       3.      Attached hereto as Exhibit A-2 is a true and correct copy of correspondence dated

February 11, 2020 from Virginia counsel to the Brewer Firm (filed under seal).

       4.      Attached hereto as Exhibit A-3 is a true and correct copy of correspondence dated

February 10, 2020 from Virginia counsel to the Brewer Firm (filed under seal).

       5.      Attached hereto as Exhibit A-4 is a true and correct copy of Kitchen Cabinet

Agenda dated October 24, 2018 (filed under seal).

       6.      Furthermore, in Plaintiff’s Motion to Disqualify the Law Firm of Dorsey & Whitney

LLP as Counsel for Defendants and for Other Appropriate Sanctions and Relief (“Motion to

Disqualify”), Plaintiff included the declaration of expert witness, James McCormack (the

“McCormack Declaration”). Paragraph 27 of the McCormack Declaration references a transcript

of an executive meeting that occurred on January 5, 2019, which he reviewed and relied upon in

forming his opinions. This transcript was not produced and Defendants are unaware of its contents.

I have requested a copy of that transcript from Plaintiff’s counsel, who refused to produce a copy

before the deadline to file Defendants’ Response to Plaintiff’s Motion to Disqualify.

       I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

foregoing is true and correct.


Executed this 21st day of May, 2020.


                                                    Brian E. Mason




DECLARATION OF BRIAN E. MASON                                                             PAGE 2
                                                                                        APP002
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 7 of 70 PageID 8753




                    EXHIBIT A-1
NRA Seeks to Renew Objections to Former Ad Agency's Production of Documents, Citing Privilege | Ne...        Page 1 of 2
           Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                        Page 8 of 70 PageID 8754
                                                                                                 NOT FOR REPRINT


    H Click to print or Select 'Print' in your browser menu to print this document.

    Page printed from: https://www.law.com/newyorklawjournal/2020/05/18/nra-seeks-to-renew-objections-to-former-ad-
    agencys-production-of-documents-citing-privilege/



    NRA Seeks to Renew Objections to Former Ad Agency's
    Production of Documents, Citing Privilege
    The filing comes after New York County Supreme Court Justice Melissa Crane ruled in February that
    the ad agency, Ackerman McQueen, must comply with a subpoena from the Attorney General's
    Office.
    By Jane Wester | May 18, 2020




    William Brewer III of Brewer, Attorneys & Counselors.


    Attorneys representing the National Rifle Association are once again seeking to stay the production of
    documents by its former advertising agency to the New York Attorney General’s Office, a process that the gun
    rights advocacy group argues will violate its right to attorney-client privilege.

    The filing comes after New York County Supreme Court Justice Melissa Crane ruled in February that the ad
    agency, Ackerman McQueen, must comply with a subpoena from the Attorney General’s Office. She agreed to
    conduct in-camera review of some documents prepared by legal counsel for the NRA, but otherwise ruled that
    the NRA could not preview or approve the production of documents.



                                                                                                    APP003
https://www.law.com/newyorklawjournal/2020/05/18/nra-seeks-to-renew-objections-to-former-ad-agencys... 5/19/2020
NRA Seeks to Renew Objections to Former Ad Agency's Production of Documents, Citing Privilege | Ne...        Page 2 of 2
    Ackerman
           CaseMcQueen   had originally responded
                 3:19-cv-02074-G-BK       Documentto the
                                                     128attorney    general’s subpoena
                                                             Filed 05/21/20     Page 9 byof explaining
                                                                                            70 PageID  that its
                                                                                                          8755
    nondisclosure agreement meant it had to allow the NRA to review the disclosures in advance. Attorney
    General Letitia James has said the NRA was trying to “stifle and interfere with a confidential law enforcement
    investigation” by seeking to review Ackerman’s documents.

    In Friday’s filing, William Brewer III of Brewer, Attorneys & Counselors argued that Ackerman has now
    demonstrated that it does possess privileged documents relating to its decades-long relationship with Brewer.
    In February, a privileged presentation made by Brewer to a 2019 executive session of the NRA board of
    directors was filed by Ackerman’s attorneys in a Texas court—an apparent mistake, the NRA attorneys wrote
    in their filings.

    Whereas the NRA attorneys brought up their concerns about privilege in their initial arguments before Crane
    in the fall, they argued that they now have proof that privileged documents have been released.

    “What’s changed is that our worst fear is confirmed,” Brewer said Monday. “That privileged materials are in the
    hands of people with whom the NRA is adverse, who are likely to turn them over to the attorney general,
    pursuant to a process that looks to us as if it was a gateway to obtain privileged communications—privileges
    that are owned by the NRA.”

    Law professor and author Arthur Miller, appearing as an expert in civil procedure, filed his own affirmation in
    support of the motion to reargue.

    “I am not a member or political supporter of the NRA, and personally believe in reasonable gun control,” he
    wrote. “I offer my expert opinion in this matter because I believe [Crane’s decision] offends fundamental
    tenets of civil procedure and due process. Moreover, it threatens to impair and diminish the attorney-client
    privilege and work product/trial preparation privileges, which are among the most sacrosanct protections
    afforded to litigants by New York law.”

    Spokespersons for the Attorney General’s Office and Ackerman McQueen’s New York attorneys did not
    immediately respond to requests for comment Monday.

    Read more:

    Manhattan Judge, Over NRA Objection, Orders Its Former Ad Agency to Comply With Subpoena
    (https://www.law.com/newyorklawjournal/2020/02/24/manhattan-judge-over-nra-objection-orders-its-former-
    ad-agency-to-comply-with-subpoena/)

    NY AG Says NRA Is Using NDA to Block Subpoena for Records of Its Ex-Ad Agency
    (https://www.law.com/newyorklawjournal/2019/10/31/nra-argues-nda-blocks-ny-ags-subpoena-for-records-of-
    its-former-ad-agency/)

    Civ Pro Professor Arthur Miller Says NRA Has Right to Review Ad Agency’s Response to Subpoena
    (https://www.law.com/newyorklawjournal/2019/11/15/civ-pro-professor-arthur-miller-says-nra-has-right-to-
    review-ad-agencys-response-to-subpoena/)




    Copyright 2020. ALM Media Properties, LLC. All rights reserved.




                                                                                                   APP004
https://www.law.com/newyorklawjournal/2020/05/18/nra-seeks-to-renew-objections-to-former-ad-agencys... 5/19/2020
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 10 of 70 PageID 8756




              EXHIBIT A-
           FILED UNDER SEAL
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 11 of 70 PageID 8757




              EXHIBIT A-
           FILED UNDER SEAL
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 12 of 70 PageID 8758




              EXHIBIT A-4
           FILED UNDER SEAL
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 13 of 70 PageID 8759




                       EXHIBIT B
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                      Page 14 of 70 PageID 8760
 


                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     NATIONAL RIFLE ASSOCIATION OF                       §
     AMERICA,                                            §
                                                         §
                Plaintiff and Counter-Defendant          §
                                                         §
     and                                                 §
                                                         §
     WAYNE LAPIERRE,                                     §
                                                         § Civil Action No. 3:19-cv-02074-G
                Third-Party Defendant,                   §
                                                         §
     v.                                                  §
                                                         §
     ACKERMAN MCQUEEN, INC.,                             §
                                                         §
                Defendant and Counter-Plaintiff,         §
                                                         §
     MERCURY GROUP, INC., HENRY
                                                         §
     MARTIN, WILLIAM WINKLER,
                                                         §
     MELANIE MONTGOMERY, and JESSE
                                                         §
     GREENBERG,
                                                         §
                                                         §
                Defendants.
                                                         §


                              DECLARATION OF G. MICHAEL GRUBER

           Pursuant to 28 U.S.C. § 1746, I, G. Michael Gruber, hereby declare as follows:

           1.       My name is G. Michael Gruber. I am over eighteen years of age. I have never been

 convicted of a felony or misdemeanor involving moral turpitude. I am fully competent to make

 this declaration. I have personal knowledge of the facts set forth. I submit this declaration in

 response to the National Rifle Association of America’s (“NRA”) Motion to Disqualify the Law

 Firm of Dorsey & Whitney LLP as Counsel for Defendants and For Other Appropriate Sanctions.

           2.       I am an attorney licensed to practice in the State of Texas. I have been continuously

 licensed since 1981. I am a graduate of Southern Methodist University School of Law. I have


 DECLARATION OF G. MICHAEL GRUBER                                                                PAGE 1
                                                                                              APP012
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 15 of 70 PageID 8761
 


 practiced business litigation in Dallas, Texas since 1981. I am licensed to practice in Texas courts;

 the Supreme Court of the United States, the United States District Court for the Northern, Southern,

 Eastern and Western Districts of Texas, the United States Court of Appeals for the Federal Circuit,

 and the United States Claims Court. I am Board Certified in Civil Trial Law by the Texas Board

 of Legal Specialization. I am a partner at the law firm of DORSEY & WHITNEY LLP (“Dorsey”) in

 Dallas, Texas. I have represented Ackerman McQueen, Inc. (“AMc”) in the above-styled lawsuit

 since September 2019.

        3.      I have reviewed the NRA’s filings relating to the Motion to Disqualify, including

 the supporting evidence and declarations. The following statements are being made in response to

 the NRA’s Motion, supporting evidence, and declarations. These statements are not intended to

 waive the attorney-client privilege, in whole or in part, between AMc and Dorsey, and are being

 made for the sole purpose of addressing the arguments and accusations made by the NRA.

        4.      In early January 2020, several Dorsey attorneys met with client representatives

 from AMc to discuss




                                                                       Dorsey understood that AMc

 had primarily been responsible for the NRA’s brand, reputation, and public relations for nearly the

 last four decades.

        5.




 DECLARATION OF G. MICHAEL GRUBER                                                             PAGE 2
                                                                                           APP013
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 16 of 70 PageID 8762
 




          To my knowledge, this is the first time Dorsey came into possession of Exhibit B-9.




        6.      On February 12, 2020, Dorsey filed AMc’s Response to the NRA’s Motion to

 Compel. In support of the Response, Exhibit B-9 was filed under seal. Exhibit B-9 was filed to

 support AMc’s position that the Brewer Firm was directly competing with AMc. When Exhibit

 B-9 was filed under seal, it was Dorsey’s understanding that Exhibit B-9 was the public

 presentation Mr. Carter gave at the NRA’s Public Affairs Committee meeting. This is evidenced

 and supported by AMc’s statement in paragraph five of the Response, which states in part, “the

 PR unit gave a detailed presentation to the NRA’s Public Affairs Committee about protecting and

 advancing the NRA’s reputational interests, repeatedly referencing the ‘court of public opinion’

 and promoting the NRA’s narrative through the media.” When Exhibit B-9 was filed under seal,

 I do not recall focusing any attention on, “Executive Briefing”, which was written on the first slide

 of Exhibit B-9 but makes no reference to the Board of Directors or any other group it was being

 presented to. I do not recall understanding that there was a presentation for anything other than a

 Public Affairs Committee meeting,                                                           . For the

 purposes of the Response, the actual January 4, 2019 Public Affairs Committee presentation would

 have been a superior choice to make our case to the court. Essentially the same material is in each

 of the two presentations, but the January 4, 2019 presentation was longer and more detailed.




 DECLARATION OF G. MICHAEL GRUBER                                                             PAGE 3
                                                                                           APP014
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 17 of 70 PageID 8763
 


        7.      On Tuesday, February 18, 2020, Dorsey received a letter from Mr. Collins alleging

 that Exhibit B-9 was a confidential and privileged document, and requesting that Dorsey take all

 sorts of extraordinary steps immediately. On Friday, February 21, 2020, Dorsey responded to Mr.

 Collins acknowledging that it had received his correspondence, as he requested, and that it would

 respond the following week. However, prior to the end of the following week, Mr. Collins sent

 another letter on Wednesday, February 26, 2020 falsely accusing Dorsey of failing to respond.

        8.      A few days later on March 2, 2020, Dorsey wrote to Mr. Collins regarding Exhibit

 B-9 and explained that Exhibit B-9 was a presentation Mr. Carter gave at the NRA’s Public Affairs

 Committee meeting on January 5, 2019, that it was voluntarily given to an AMc’s employee, and

 that it was not a confidential or privileged document. At this time, Dorsey still understood that

 Exhibit B-9 was the presentation Mr. Carter gave at the NRA’s Public Affairs Committee meeting,

                                             . Despite Dorsey’s position, Dorsey agreed not to

 disseminate and/or use Exhibit B-9 until the Court made a determination whether it was in fact

 privileged. Aside from complying with the federal court’s March 10, 2020 order to file numerous

 exhibits under seal, including Exhibit B-9 (ECF 63), Dorsey has not disseminated and/or used

 Exhibit B-9 since Dorsey’s March 2, 2020 correspondence to the Brewer Firm.

        9.      On March 3, 2020, Mr. Collins explained that Dorsey’s statements in the March 2,

 2020 correspondence was a “misunderstanding of the facts” because the Public Affairs Committee

 took place on Friday, January 4, 2019 while and an executive session occurred on Saturday,

 January 5, 2019. The January 4, 2019 and January 5, 2019 presentations appear to be the same

 material in a shorter version in a slightly different format. They both appear to be public relations

 presentations, with over half of Exhibit B-9’s pages being centered on press clippings. There was

 no advantage in using the shorter and less detailed January 5, 2019, Exhibit B-9, presentation in




 DECLARATION OF G. MICHAEL GRUBER                                                             PAGE 4
                                                                                           APP015
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 18 of 70 PageID 8764
 


 the Response to the NRA’s Motion to Compel that we understood to be the Public Affairs

 Committee meeting presentation. During this dispute I do not recall any specific request that the

 January 4, 2019 Public Affairs presentation be returned, or that it was confidential or privileged in

 any way.

        10.     On March 11, 2020, senior associate Brian E. Mason, one of the lead attorneys

 involved in the above-captioned litigation, went home ill and was out of the office for several days.

 During the week of March 9 and March 16, Dorsey was monitoring the COVID-19 situation,

 having shut down its three China offices. One week after filing the document under seal and upon

 Mr. Mason's return to the office, on March 17, 2020, Dorsey closed its Dallas office (and the entire

 19-office firm) indefinitely, except for essential staff. Dorsey lawyers moved to remote work

 status, as did much of the city. The following week, Dorsey allowed the lawyers to take computer

 monitors and equipment to shelter-in-place for an extended amount of time—meaning, the Dorsey

 team on this matter had to shift focus to setting up remote work stations and address immediate

 concerns while monitoring cases for approaching deadlines and urgent needs.

        11.     From March 4, 2020 to March 29, 2020, Dorsey did not receive any follow up

 correspondence or communications from the Brewer Firm regarding Exhibit B-9. In fact, during

 meet and confer telephone conferences with the Brewer Firm on March 19, 2020 and March 26,

 2020, there was no mention at all about Exhibit B-9.

        12.     Relevant to dealing with discovery matters, at the end of January, 2020 there was

 confirmation of a deep suspicion as to how the NRA and their attorneys were handling evidence.

 Based on information obtained through discovery, Dorsey was reluctant in its discussions with the

 Brewer Firm to delete all copies of Exhibit B-9 without assurances that the NRA and the Brewer




 DECLARATION OF G. MICHAEL GRUBER                                                             PAGE 5
                                                                                           APP016
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                             Page 19 of 70 PageID 8765
 


 firm would maintain it in its files. The Brewer Firm had also just recently made a highly frivolous

 claw back request.

               13.             In Dorsey’s March 31, 2020 correspondence, which was publicly filed by the NRA

 in support of its Motion,1 I included the following language that summarized the concerns about

 maintaining the document:

               Given the similarities between the Presentation and the Public Affairs Presentation,
               the fact that the Presentation is further direct evidence of the Brewer Firm directly
               competing with AMc, that the Presentation is not the rendition of legal advice, and
               the applicability of the crime-fraud exception, Defendants do not believe the
               Presentation is privileged.

               14.            I further explained that Dorsey was willing to delete Exhibit B-9, but demanded

 that the NRA preserve the document:

               These actions are without waiver to Defendants’ right to challenge the asserted
               privilege related to the Presentation in the future. Specifically, Defendants do not
               concede in any way that the Presentation is privileged, and demand that the NRA
               and its counsel continue to maintain the Presentation as part of this litigation,
               especially in light of the NRA’s President testifying that she was directed to
               intentionally destroy evidence. The failure to preserve the Presentation in your and
               the NRA’s files would be considered an act of spoliation by our client.

               15.            In Dorsey’s April 1, 2020 correspondence to the Brewer Firm, which again was

 publically filed by the NRA in support of its Motion,2 it included similar language, thinking that it

 had an agreement to dispose of this controversy:

               Finally, we again demand that the NRA and its counsel continue to maintain the
               Presentation as part of this litigation, especially in light of the NRA’s President
               testifying that she was directed to intentionally destroy evidence, and other
               fabrications of evidence set forth in more detail in Defendants’ Motion to
               Disqualify and the other supporting materials. See ECF 78-81.

               16.            While not making the retention of the document a condition to our deleting it we


 
 1
     See ECF 108, Ex. 13 (APP 152).
 2
     See ECF 108, Ex. 14 (APP 155).


 DECLARATION OF G. MICHAEL GRUBER                                                                      PAGE 6
                                                                                                    APP017
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 20 of 70 PageID 8766
 


 agreed to that and the other requests made upon us by opposing counsel, being comfortable that

 the document would be preserved in the NRA files based on our demand.

        17.     Dorsey agreed to return Exhibit B-9, permanently delete all copies in its or AMc’s

 possession, confirm that all such copies had been deleted, and withdraw Exhibit B-9 from support

 of its response to the NRA’s Motion to Compel. The NRA and the Brewer Firm response was to

 return all copies and not destroy any copies of Exhibit B-9 or related documents, which Dorsey

 complied with. Dorsey received no other follow up after returning the copies of Exhibit B-9.

        18.     I have not seen or reviewed any PowerPoint presentation notes from either the

 January 4, 2019 PowerPoint presentation or Exhibit B-9, and am not aware that anyone else at

 Dorsey has either.

        19.     To my knowledge, at no point in time has Exhibit B-9 been filed in the public record

 by me or anyone else at Dorsey.

        I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

 foregoing is true and correct.


        Executed this 21st day of May, 2020.



                                                      G. Michael Gruber
 




 DECLARATION OF G. MICHAEL GRUBER                                                           PAGE 7
                                                                                         APP018
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 21 of 70 PageID 8767




                       EXHIBIT C
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 22 of 70 PageID 8768




                                                                     APP019
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 23 of 70 PageID 8769




                                                                     APP020
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 24 of 70 PageID 8770




                                                                     APP021
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 25 of 70 PageID 8771




                                                                     APP022
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 26 of 70 PageID 8772




                       EXHIBIT D
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                Page 27 of 70 PageID 8773



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF                   §
   AMERICA,                                        §
                                                   §
              Plaintiff and Counter-Defendant      §
                                                   §
   and                                             §
                                                   §
   WAYNE LAPIERRE,                                 §
                                                   § Civil Action No. 3:19-cv-02074-G
              Third-Party Defendant,               §
                                                   §
   v.                                              §
                                                   §
   ACKERMAN MCQUEEN, INC.,                         §
                                                   §
              Defendant and Counter-Plaintiff,     §
                                                   §
   MERCURY GROUP, INC., HENRY
                                                   §
   MARTIN, WILLIAM WINKLER,
                                                   §
   MELANIE MONTGOMERY, and JESSE
                                                   §
   GREENBERG,
                                                   §
                                                   §
              Defendants.
                                                   §


                             DECLARATION OF NADER TAVANGAR

         Pursuant to 28 U.S.C. § 1746, I, Nader Tavangar, hereby declare as follows:

         1.       My name is Nader Tavangar. I am over eighteen years of age. I have never been

 convicted of a felony or misdemeanor involving moral turpitude. I am fully competent to make

 this declaration. I have personal knowledge of the facts set forth. I submit this declaration in

 response to the National Rifle Association of America’s (“NRA”) Motion to Disqualify the Law

 Firm of Dorsey & Whitney LLP as Counsel for Defendants and For Other Appropriate Sanctions.




 DECLARATION OF NADER TAVANGAR                                                            PAGE 1
                                                                                       APP023
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 28 of 70 PageID 8774



        2.      I am an Executive Vice President / Managing Director of Mercury Group, Inc., a

 wholly owned subsidiary of Ackerman McQueen, Inc. (“AMc”). I have been employed by AMc

 since 1999.

        3.      In 2009, I began to work on the NRA account at AMc. Since that time, I have

 worked closely with many of the NRA’s officers and directors. I was the main relationship point

 of contact between AMc and the NRA, including with Wayne LaPierre.

        4.      As part of my job responsibilities with AMc, I would routinely attend NRA

 meetings, including board meetings and national conferences. I estimate that I have attended a

 minimum of thirty NRA board meetings and national conferences over the years.

        5.      Since I began working with AMc on the NRA account, the NRA would engage

 AMc to assist with the NRA board meetings and national conferences for a variety of tasks,

 including but not limited to oral and/or visual presentations and audio/visual aide and support to

 the executive leadership.

        6.      In January 2019, I attended the NRA’s board meetings. Although I did not know

 it at the time, based upon correspondence drafted by Wayne LaPierre, I now understand that the

 NRA was anticipating litigation against AMc prior to this meeting.

        7.      On January 4, 2019, I attended the NRA’s Public Affairs Committee meeting.

 Other AMc representatives were also present at the meeting, including John Popp, Carly Jimeson,

 and Katie Carroll. I also understood that there were other non-NRA employees, officers, and/or

 directors at the meeting. This is consistent with my prior experiences and the Declaration of

 Andrew Arulanandam where he explains that committee meetings are typically attended by AMc

 representatives, and a range of NRA board members, members, special guests, and vendor

 representatives.




 DECLARATION OF NADER TAVANGAR                                                             PAGE 2
                                                                                        APP024
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                     Page 29 of 70 PageID 8775



        8.      Mr. LaPierre addressed the room at the beginning of the meeting. During his

 opening remarks Mr. LaPierre repeatedly talked about the NRA’s brand, messaging, reputation,

 and legal strategy going forward, and specifically discussed the New York Attorney General’s

 investigation into the NRA and the lawsuit it had filed against Governor Andrew Cuomo.

        9.      Once Mr. LaPierre concluded his opening remarks, non-attorney Travis Carter from

 Brewer Attorneys & Counselors (the “Brewer Firm”) delivered a presentation about the NRA’s

 brand, messaging, reputation, and legal strategy going forward. Mr. Carter introduced himself as

 the head of the public affairs division at the Brewer Firm that specialized in issues relating to crisis

 management, one of the tasks AMc had handled for the NRA for decades. Mr. Carter also

 mentioned that he had been working with the NRA for one year, and made clear throughout the

 presentation that the Brewer Firm was extremely active in the public relations area.

        10.     During his presentation, Mr. Carter discussed in detail issues surrounding litigation

 with the NRA, regulatory matters with the NRA, and how the NRA was handling the “court of

 public opinion.” This was a phrase Mr. Carter repeatedly used throughout his presentation. Mr.

 Carter discussed the New York Attorney General’s (Letitia James) investigation of the NRA non-

 profit compliance; the power struggle among various political figures in New York, including

 Governor Andrew Cuomo, which Mr. Carter referred to as a battle against the NRA’s “First

 Amendment” rights; and the Lockton lawsuit. Mr. Carter explained that the Lockton lawsuit was

 favorably resolved both financially and in the court of public opinion because of the active public

 relations work done by the Brewer Firm. Mr. Carter also explained the NRA’s aggressive litigation

 strategy with Governor Andrew Cuomo and the New York State Department of Financial Services.

 I found Mr. Carter’s comments and strategy to be odd and contradictory to recent conversations

 and strategy meetings that I had attended with Mr. LaPierre.




 DECLARATION OF NADER TAVANGAR                                                                   PAGE 3
                                                                                              APP025
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 30 of 70 PageID 8776



         11.    During the presentation, Mr. Carter repeatedly explained that the Brewer Firm was

 working behind the scenes and was responsible for crafting the NRA’s “message” to the public to

 protect the NRA’s reputational interests. These were historically roles handled by AMc for the

 NRA, and it was very concerning to me how the Brewer Firm appeared to be stepping into AMc’s

 role.

         12.    As I stated above, I have attended a significant number of NRA’s Board of

 Director’s meetings and conferences over the years. I routinely take notes from these meetings to

 report back to AMc executives. This was important for the work AMc had been performing for

 the NRA for decades, including public relations, crisis management, image building, and brand

 management. Having knowledge about the statements, activities, various initiates, and comments

 from NRA executives and officers, including Mr. LaPierre, allowed AMc to better understand and

 assist the NRA with these tasks. Consistent with that practice, I recorded the presentations by Mr.

 LaPierre and Mr. Carter during the Public Affairs Committee meeting in January 2019 to

 supplement the notes I regularly take.

         13.    After the January 4, 2019 meeting concluded, I believed that AMc, who had been

 responsible for the NRA’s public relations, messaging, crisis management, image building, and

 brand management for decades, should understand the NRA’s messaging and strategy moving

 forward. Thus, Mr. Popp provided me with a copy of the January 4, 2019 presentation.

         14.    On January 5, 2019, Mr. Popp provided me with a copy of another PowerPoint

 presentation. I then sent the January 5, 2019 PowerPoint to two other AMc representatives, and

 understand that it was not circulated further or outside of AMc except to Dorsey as discussed

 below. After that point, I did not access, view, or disseminate the January 5, 2019 PowerPoint

 presentation until January 7, 2020 as discussed below. No one asked that this be returned, despite




 DECLARATION OF NADER TAVANGAR                                                              PAGE 4
                                                                                         APP026
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                Page 31 of 70 PageID 8777



 my familiarity and working relationship with the Brewer Firm’s public relations group. It is my

 understanding that no one asked Mr. Popp for these to be returned either.

        15.     I have reviewed the NRA’s filings relating to the Motion to Disqualify, including

 the Declarations submitted by Mr. Arulanandam and Mr. Carter. The following statements are

 being made in response to the NRA’s Motion and those two declarations. These statements are

 not intended to waive the attorney-client privilege, in whole or in part, between AMc and Dorsey,

 and are being made for the sole purpose of addressing the arguments and accusations made by the

 NRA.

        16.




                               . I have never seen or reviewed any PowerPoint presentation notes

 from either the Public Affairs Committee presentation or Exhibit B-9.

        17.




 DECLARATION OF NADER TAVANGAR                                                            PAGE 5
                                                                                        APP027
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20               Page 32 of 70 PageID 8778




        18.




                          .

        19.




        20.    I now understand that Exhibit B-9 was the presentation the Brewer Firm made

 during executive session. I understand that Dorsey inadvertently filed Exhibit B-9 in support of

 its Response to the NRA’s Motion to Compel under the belief that Exhibit B-9 was the PowerPoint




 DECLARATION OF NADER TAVANGAR                                                           PAGE 6
                                                                                       APP028
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20               Page 33 of 70 PageID 8779



 presentation given by Mr. Carter during the Public Affairs Committee meeting that I and numerous

 other AMc representatives attended.

        I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

 foregoing is true and correct.


        Executed this 21st day of May, 2020.



                                                    Nader
                                                    N d Tavangar
                                                          T




 DECLARATION OF NADER TAVANGAR                                                            PAGE 7
                                                                                       APP029
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 34 of 70 PageID 8780




                       EXHIBIT E
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 35 of 70 PageID 8781




                                                                     APP030
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 36 of 70 PageID 8782




                                                                     APP031
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 37 of 70 PageID 8783




                                                                     APP032
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20   Page 38 of 70 PageID 8784




                        EXHIBIT F
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20               Page 39 of 70 PageID 8785



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 NATIONAL RIFLE ASSOCIATION OF        §
 AMERICA,                             §
                                      §
     Plaintiff and Counter-Defendant, §
                                      §
 and                                  §
                                      §
 WAYNE LAPIERRE,                      §
                                      §
     Third-Party Defendant,           §
                                      §
 v.                                   §                    Case No. 3:19-cv-02074-G
                                      §
 ACKERMAN MCQUEEN, INC.,              §
                                      §
     Defendant and Counter-Plaintiff, §
                                      §
 and                                  §
                                      §
 MERCURY GROUP, INC., HENRY           §
 MARTIN, WILLIAM WINKLER,             §
 MELANIE MONTGOMERY, AND JESSE §
 GREENBERG,                           §
                                      §
     Defendants.


              DECLARATION OF COYT RANDAL “RANDY” JOHNSTON

        Pursuant to 28 U.S.C. § 1746, I, Coyt Randal Johnston, hereby declare as follows:

        1.     My name is Coyt Randal “Randy” Johnston. I am over eighteen years of age. I

 have never been convicted of a felony or misdemeanor involving moral turpitude. I am competent

 to make this Declaration in support of Ackerman McQueen, Inc.’s (AMc) Response to the National

 Rifle Association of America’s (NRA) Motion to Disqualify the Law Firm of Dorsey & Whitney

 LLP as Counsel for Defendants and For Other Appropriate Sanctions and Relief.




 DECLARATION OF COYT RANDAL JOHNSTON                                                    Page 1
                                                                                      APP033
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                    Page 40 of 70 PageID 8786



                                  Qualifications as Expert Witness

        2.      I am an attorney in Dallas, Texas. I graduated with honors from the University of

 Texas School of Law in 1974, and have been licensed to practice law in Texas since October 22,

 1974. I also am licensed to practice in Utah and in multiple federal courts including the Northern

 District of Texas. I am board certified in civil trial law by the Texas Board of Specialization. I am

 a founder and shareholder in the law firm of Johnston Tobey Baruch, P.C. Since being licensed in

 1974, my practice has been predominantly litigation-based, with various areas of substantive

 expertise in connection with litigation, arbitration, and dispute resolution.

        3.      I began my practice in 1974, with the law firm of Baker Botts L.L.P. in Houston. I

 moved to Dallas in 1979, and practiced with the law firm of Hewitt Johnson Swanson & Barbie.

 In 1981, I formed my own law firm and have practiced on my own, under different firm names,

 ever since.

        4.      Since 1981, a major portion of my practice has consisted of legal malpractice,

 attorney fee disputes, professional liability matters, and legal ethics. I cannot state how many

 lawyer disputes I have handled over that period of time. It is a lot. I have written and spoken

 extensively on the subject, including numerous continuing legal education presentations relating

 to ethical issues including the attorney-client privilege.

        5.      In addition to my work in the area of legal malpractice, I also have experience in

 connection with general commercial, business, and personal injury litigation, both on an hourly

 and contingent fee basis. I have handled a few, but not many, family law and criminal disputes. I

 represent both plaintiffs and defendants, although most of my practice since 1981 has been a

 plaintiff-based and contingent-fee practice.

        6.      I have been an instructor for the Trial Advocacy College of Texas and the National

 Institute of Trial Advocacy. I have taught professional responsibility at the University of North


 DECLARATION OF COYT RANDAL JOHNSTON                                                         Page 2
                                                                                           APP034
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                  Page 41 of 70 PageID 8787



 Texas School of Law, and lectured numerous times at the SMU Dedman School of Law. I chaired

 the Business Litigation Section of the Dallas Bar Association and served as president of the Dallas

 Trial Lawyers Association. I have also served as President of the Dallas Chapter of the American

 Board of Trial Advocates, and I served on the Executive Committee of that organization for over

 a decade. I am a Fellow in the International Academy of Trial Lawyers, an organization whose

 membership is limited to 500 attorneys worldwide. I am the author of the 2009 book, Robbed at

 Pen Point. I am also the author of the chapter on Ethics in the book, Texas Business Litigation. A

 copy of my C.V. with a list of my speeches and papers is attached hereto as Exhibit A.

                                      Scope of Engagement

        7.      I have been retained by AMc and related parties and their counsel in the above-

 referenced case to review materials provided to me and to render various opinions in connection

 with a motion to disqualify the law firm of Dorsey & Whitney LLP (Dorsey) filed by the

 plaintiff/counter-defendant NRA (NRA). The issues in dispute in this motion focus primarily, if

 not exclusively, on a single document (Exhibit B-9) that Dorsey attached and filed under seal as

 an exhibit to a pleading. I am being paid for my time at the rate of $690/hour.

        8.      Much of my work in this proceeding has focused on the declaration of James M.

 McCormack filed in support of the motion to disqualify. I have known Mr. McCormack for many

 years and respect him, though I believe his opinions in this proceeding are unfounded.

        9.      My opinions in this declaration are based on my review of the documents provided

 to me by Dorsey. Dorsey has provided me with all documents I requested and has been responsive

 to all my questions. There may be other documents of which I am unaware. I prepared this

 declaration and formed these opinions for use in this proceeding only.




 DECLARATION OF COYT RANDAL JOHNSTON                                                        Page 3
                                                                                          APP035
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 42 of 70 PageID 8788



        10.     My opinions are based upon the facts of this case and may not be transportable to

 other cases. I may be requested to issue opinions on other subjects during this litigation, and I may

 review additional documents. Accordingly, I reserve the right to form additional opinions and

 modify or supplement these opinions based upon further requests and my continued review of the

 documents and facts as discovery continues.

        11.     One important note in relation to my review of documents is what I was not able to

 review. In his declaration, Mr. McCormack refers to having reviewed certain documents. Some of

 the documents apparently provided to Mr. McCormack were not available to me. The most notable

 example is the transcript of the January 5, 2019 NRA board meeting referenced by Mr.

 McCormack. I understand that Dorsey has requested the transcript, but that it has not been

 produced.    Because the transcript was not available to me, I was unable to evaluate Mr.

 McCormack’s conclusions about it.

                            Summary of Expert Witness Role/Process

        12.     As an attorney acting as an advocate for my clients, I have on occasion been accused

 of hyperbole and excessive enthusiasm for the position of those clients. On some occasions I was

 guilty of that offense. As an expert witness, however, I am not an advocate and am not charged

 with determining the outcome of this litigation. On the contrary, my job as an expert witness is to

 provide a reasoned analysis of the facts, without regard to whether it helps or hurts the party who

 retained me. I have endeavored to adhere to that role throughout this engagement, although others

 will have to decide the extent to which I have succeeded.

        13.     Expert witness testimony is, by definition, opinion testimony. For an expert to be

 permitted to express an opinion, the expert must believe that the subject of the opinion is

 probable—meaning more likely than not. This often is expressed as a probability of 51% or greater.




 DECLARATION OF COYT RANDAL JOHNSTON                                                         Page 4
                                                                                           APP036
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 43 of 70 PageID 8789



 In other words, an expert need not be 100% absolutely certain of an opinion; few opinions can be

 expressed with that level of certainty. But there is a significant difference between the opinions

 the expert may hold with the level of certainty of 51% as contrasted with a much higher level of

 certainty. Where possible, I have attempted to express the level of certainty I attach to my opinions

 so that they can be fairly evaluated by the judge in this case.

        14.     Expert witness testimony in connection with disqualification motions is burdened

 further by the possibility that the expert witness may be testifying about matters strictly within the

 judge’s province—most commonly matters of law. I have endeavored to avoid testifying on

 matters of law to be decided by the court although my opinions are, of necessity, grounded in my

 understanding of the law on the relevant subjects. To the extent the court believes I am testifying

 on matters of law within its province, or that I have misstated the law through my opinions, the

 court will disregard my opinions and rely on its own opinions on such matters.

        15.     Having conceded that my role is not that of an advocate for one of the parties, I

 admit I feel a level of advocacy for my profession as a whole. That duty is reflected in the Texas

 Disciplinary Rules of Professional Conduct, the ethical code to which all lawyers in the State of

 Texas must adhere. That code requires lawyers to take some level of personal responsibility for

 ensuring that other lawyers adhere to the ethical rules, for the benefit of both the legal profession

 and the public at large.

        16.     Where possible, my opinions are based upon the documents and the undisputed

 facts as revealed in the pleadings of the parties. There are times, however, where the parties tell

 different stories or view undisputed facts differently. The judge will decide whose version of the

 facts is correct on those occasions. Where I have been forced to make an assumption on a disputed




 DECLARATION OF COYT RANDAL JOHNSTON                                                          Page 5
                                                                                            APP037
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 44 of 70 PageID 8790



 fact in order to proceed to the ultimate opinion, I am prepared to specify the basis on which I have

 resolved the disputed fact.

                                       Summary of Opinions

        17.     As an initial matter, I believe whether Exhibit B-9 is protected by the attorney-

 client privilege is a matter of law for the court. Where it is necessary that I assume the privilege

 applies for purposes of this opinion, I will specify that I am making such an assumption.

        18.     There is, in my opinion, an issue of whether the NRA’s conduct relating to Exhibit

 B-9 constitutes a waiver of the privilege, to the extent that it even applies. Although Mr.

 McCormack opines that there was no waiver by the NRA of its right to maintain confidentiality of

 Exhibit B-9, even he admits that waiver occurs with a voluntary disclosure of privileged

 information. I believe that typically the matter of waiver is a matter of law for the court to decide.

 However, because Mr. McCormack has expressed an opinion on the subject, to the extent the court

 considers it, I feel it is appropriate to express my own opinion on the subject. Based upon the

 evidence before me, I believe there is a significant probability the NRA waived its right to claim

 that Exhibit B-9 was a privileged document, to the extent that the privilege applies, and that at a

 minimum, the NRA has waived its right to seek disqualification based upon Exhibit B-9 having

 been disseminated. My opinion is based on numerous facts within the record, including but not

 limited to the fact that in addition to NRA board members and senior staff members, other non-

 NRA representatives were present at the board meeting where a presentation on Exhibit B-9 was

 made; information regarding the NRA’s settlement with Lockton was known and disclosed in this

 litigation before Dorsey ever obtained Exhibit B-9; the NRA intentionally provided Exhibit B-9 to

 an AMc representative at a time when it was preparing litigation against AMc; Exhibit B-9 does

 not include legal impressions or opinions; when the NRA learned about Exhibit B-9 in July 2019




 DECLARATION OF COYT RANDAL JOHNSTON                                                          Page 6
                                                                                            APP038
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 45 of 70 PageID 8791



 (discussed in more detail below), they appeared to take no further steps to retrieve it; and the NRA

 re-filed Exhibit B-9 and put it back into the court’s record (under seal), despite previously

 demanding that Dorsey withdraw the document from the record, which Dorsey did. Regardless of

 my opinion on waiver, to facilitate the presentation of the other issues, however, I am assuming

 for the purposes of this declaration that there was no waiver.

        19.     I disagree with Mr. McCormack’s conclusion that Dorsey failed to comply with its

 legal obligations concerning Exhibit B-9.

        20.     I disagree with Mr. McCormack’s apparent assumption that Dorsey had an

 obligation to explain to the NRA how it came into the possession of Exhibit B-9. There is no case

 law or ethical rule cited by Mr. McCormack suggesting such a standard, and I am not aware of

 such a standard. I do not believe such a categorical “one-size-fits-all” obligation exists.

        21.     To the contrary, my opinion is that the obligation of an attorney to explain its

 possession of an opposing party’s confidential information must be determined by the individual

 facts of each case, as such a disclosure may implicates the attorney’s ethical obligation of

 confidentiality to another client. For example, it may be appropriate that disclosure be made in

 camera to the court. My opinion is that Dorsey has explained its possession of Exhibit B-9

 adequately under the facts of this case. But I do not believe that In re Meador imposes any blanket

 obligation on a lawyer to explain the facts surrounding its possession of confidential information.

        22.     I also disagree with Mr. McCormack’s interpretation of the facts as conclusively

 establishing Dorsey knew from the beginning that Exhibit B-9 was privileged and failed in its

 obligations to return the document promptly. My opinion here is, admittedly, based in large part

 on the factual representations of the Dorsey attorneys whom I have known for years both as

 adversaries and co-counsel, as well as the correspondence between counsel, the relevant filing and




 DECLARATION OF COYT RANDAL JOHNSTON                                                             Page 7
                                                                                               APP039
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                          Page 46 of 70 PageID 8792



 intent for including Exhibit B-9 in the Response to the NRA’s Motion to Compel, the declaration

 of Nader Tavangar, and other considerations discussed throughout my opinions. I have seen no

 reason to doubt my reliance on the truthfulness of their statements.

         23.       Lastly, I disagree with Mr. McCormack’s opinion that Dorsey’s disqualification is

 warranted. Again, that decision is for the court. But to the extent the court desires expert witness

 testimony on the question of whether disqualification is warranted, my opinion is that it is not

 warranted for the reasons explained in this declaration—including that Mr. McCormack did not

 opine about, and there is no evidence of, any actual prejudice to the NRA. The lack of actual

 prejudice to the NRA, standing on its own, should be sufficient in and of itself to deny the NRA’s

 request for disqualification. Likewise, my opinion is that the other sanctions sought by the NRA

 are unwarranted.

                                            Factual Background

         24.       The factual background for the motion to disqualify Dorsey is set out in the

 respective pleadings of the parties. I will repeat only those facts that seem to have been

 undervalued or omitted by Mr. McCormack in his declaration:

               x   The NRA first became adverse to AMc no later than September 5, 2018, 1 and filed
                   suit against AMc in April of 2019. Accordingly, all the events relevant to this
                   motion occurred at a time when the NRA was contemplating suing AMc.

               x   AMc came into possession of the Exhibit B-9 on January 5, 2019, when a non-
                   attorney representative from the NRA’s counsel provided the document to an AMc
                   employee and directed that he load it onto the AMc laptop. 2 I understand similar
                   situations took place in September 2018 and April 2019.




 1
   See April 22, 2019 Correspondence from Wayne LaPierre to Mark Dyscio, dated April 22, 2019 (LaPierre explains
 that “[t]he NRA and I have common legal interests in the litigation against Ackerman McQueen which crystallized
 before the September Board meeting and colored the discussion that day.”). I understand the September 2018 Board
 meeting referenced by Mr. LaPierre began on September 5, 2018 in Dallas, Texas.
 2
   See Declaration of John Popp; ECF 108 at Ex. 2 (Declaration of Andrew Arulanandam); ECF 108 at Ex. 4
 (Declaration of Travis Carter).



 DECLARATION OF COYT RANDAL JOHNSTON                                                                   Page 8
                                                                                                     APP040
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                             Page 47 of 70 PageID 8793



              x   At the conclusion of the executive committee meeting, neither the NRA, its counsel,
                  nor its counsel’s representative took any steps to have Mr. Popp remove Exhibit B-
                  9 from the AMc laptop or make sure that it was not otherwise in the possession of
                  AMc. Mr. Popp, who never looked at Exhibit B-9, then provided Exhibit B-9 to Mr.
                  Tavangar as he had done the previous day. 3 It appears that no one gave the
                  document any thought following the meeting.

              x   The day before, on January 4, 2019, a similar event occurred—the non-attorney
                  representative from the NRA’s counsel gave the same AMc employee a similar-but
                  non-privileged-PowerPoint presentation (the January 4 PPT) to load on the AMc
                  laptop for a presentation to a different committee where numerous AMc
                  representatives and other non-NRA individuals were present. 4 Again, neither the
                  NRA, its counsel, nor its counsel’s representative took any steps to have the AMc
                  representative remove the January 4 PPT from the AMc computer or make sure that
                  it was not otherwise in the possession of AMc.

              x   This lack of concern for AMc having documents of the NRA is consistent
                  throughout the lengthy history of the two organizations, their Services Agreement,
                  and the NRA utilizing AMc’s employees with assist with digital media.5

              x   The non-privileged January 4 PPT is remarkably similar to Exhibit B-9. The major
                  difference is Exhibit B-9 has a single PowerPoint slide that addresses settlement
                  terms of a different lawsuit (where none of the Defendants here are parties).

              x   Those portions of Exhibit B-9 that are conceptually identical to the January 4 PPT
                  cannot be privileged because the January 4 PPT was displayed at a meeting where
                  AMc personnel and other non-NRA individuals were in attendance. 6

              x   The NRA apparently concedes that the January 4 PPT is not privileged, based in
                  large part on the arguments set forth in its Motion and the supporting declarations
                  of Andrew Arulanandam and Travis Carter who draw distinctions between the
                  January 4 PPT and Exhibit B-9. 7 The January 4 PPT was also filed under seal as
                  Exhibit A-65 to AMc’s Motion to Disqualify the Brewer Firm without objection
                  from the NRA.

 3
   Declaration of John Popp; Declaration of Nader Tavangar.
 4
   Declaration of John Popp; ECF 108 at Ex. 2 (Declaration of Andrew Arulanandam); ECF 108 at Ex. 4 (Declaration
 of Travis Carter); Declaration of Nader Tavangar.
 5
   See ECF 103 at Ex. 2 (Declaration of Andrew Arulanandam).
 6
   ECF 108 at Ex. 2 (Declaration of Andrew Arulanandam); ECF 108 at Ex. 4 (Declaration of Travis Carter);
 Declaration of Nader Tavangar.
 7
   See ECF 108 at Ex. 2 ¶¶ 4-6 (Declaration of Andrew Arulanandam) (testifying that meetings such as the public
 affairs committee meeting on January 4, 2019 are “typically attended by a range of NRA board members, members,
 special guests, and vendor representatives” and acknowledging that AMc has representatives present at the January 4,
 2019 meeting); ECF 108 at Ex. 4 ¶¶ 4-5 (Declaration of Travis Carter) (testifying that the January 4, 2019 meeting
 was “not subject to the strict rules and guidelines associated with more sensitive discussions that occur during
 confidential presentations to the full NRA Board of Directors, and particularly those presentations that occur in
 executive session.”).



 DECLARATION OF COYT RANDAL JOHNSTON                                                                       Page 9
                                                                                                         APP041
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                     Page 48 of 70 PageID 8794




             x    In response to a request for information relating to the public relations presentations
                  to the NRA, an AMc representative provided Exhibit B-9 to Dorsey in connection
                  with this litigation on January 7, 2020, with the representation that it was the
                  January 4 PPT presented by the Brewer Firm’s non-attorney Travis Carter, to the
                  Public Affairs Committee of the NRA Board of Directors. I understand the same
                  AMc representative confirmed Exhibit B-9 was the presentation by Mr. Carter for
                  the Public Affairs Committee, and that in total, the AMc representative represented
                  to Dorsey three different times that Exhibit B-9 was the non-privileged presentation
                  by Mr. Carter for the Public Affairs Committee. Based on that explanation, Dorsey
                  believed Exhibit B-9 was the presentation made by Mr. Carter to the Public Affairs
                  Committee, which included the attendance of numerous AMc representatives and
                  other non-NRA individuals. 8

             x    Dorsey made no attempt to hide its possession of Exhibit B-9 and in fact filed the
                  document (under seal) one month later on February 12, 2020, as part of AMc’s
                  Response to the NRA’s Motion to Compel. The NRA was copied on this filing.

             x    Exhibit B-9 was filed under seal and never was disclosed to the public. Mr. Gruber
                  makes the statement that the January 4 Public Affairs Committee presentation
                  would have been better evidence, and a better exhibit for the Response given that
                  it was longer and more detailed. 9

             x    Dorsey cited Exhibit B-9 as support for its claim that the Brewer Firm was
                  attempting to take over business AMc had been doing exclusively for the NRA for
                  nearly 40 years. The document is cited for no other purpose. Based upon the
                  statements made by AMc/Dorsey in the Response to the NRA’s Motion to Compel,
                  AMc/Dorsey understood that Exhibit B-9 was used as part of the presentation to
                  the Public Affairs Committee, which was not a privileged and confidential
                  committee meeting. 10

             x    After the filing of Exhibit B-9 on February 12, 2020, there followed several weeks
                  of exchanges between the parties in which Dorsey again stated that Exhibit B-9 was
                  given by Mr. Carter during the Public Affairs Committee meeting and was therefore
                  not privileged. 11

             x    In correspondence dated March 2, 2020, Dorsey took steps to make sure Exhibit B-
                  9 was isolated and not disseminated and promised to maintain the confidentiality
                  of Exhibit B-9. Dorsey also noted that it was not permitted to destroy Exhibit B-9
                  because of the ongoing New York Attorney General’s investigation into the NRA
                  and the pending subpoena before AMc, and also that it was concerned about the


 8
   Declaration of Nader Tavanger; Declaration of G. Michael Gruber.
 9
   Declaration of G. Michael Gruber.
 10
    Declaration of G. Michael Gruber.
 11
    March 2, 2020 Correspondence from Mike Gruber to Mike Collins.



 DECLARATION OF COYT RANDAL JOHNSTON                                                           Page 10
                                                                                              APP042
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                        Page 49 of 70 PageID 8795



                 destruction of documents. I have seen no evidence to suggest that Dorsey used or
                 otherwise disseminated Exhibit B-9 after its March 2, 2020 correspondence. 12

             x   Dorsey did not realize that there were two different presentations given to two
                 different meetings on two different days until the March 3, 2020 letter from the
                 NRA’s lawyers. 13 Even after realizing that there were two different meetings on
                 two different days, there still appears to have been confusion for several days about
                 which presentation was used for each meeting.

             x   On March 31, 2020, Dorsey agreed to immediately take the following actions
                 regarding Exhibit B-9:

                          1. Defendants’ counsel will return the Presentation to the NRA’s Counsel
                          (the Brewer Firm);

                          2. Defendants’ counsel will permanently delete any and all versions of the
                          Presentation in their possession, custody, or control;

                          3. Defendants will permanently delete any and all versions of the
                          Presentation in their possession, custody, or control;

                          4. Defendants’ counsel will confirm with Defendants that all versions of the
                          Presentation in their possession, custody, or control have been permanently
                          deleted and will again verify that no copies were made, and if any were, that
                          they have been permanently destroyed; and

                          5. Defendants will file a Motion to Withdraw Exhibit B-9 from their
                          Response to Plaintiff’s Motion to Compel Document Production.

                          Once each of these actions is completed, Defendants’ counsel will circulate
                          a subsequent correspondence verifying that each of the aforementioned
                          actions have been completed. 14

             x   The NRA and the Brewer Firm’s response was for Dorsey to return all copies,
                 withdraw Exhibit B-9 from the court’s record, and not to destroy any copies of
                 Exhibit B-9 or related documents. On April 1, 2020, Dorsey returned all copies of
                 Exhibit B-9 and withdrew it from the court’s record in support for its response, but
                 requested the NRA preserve the document in the event it later became evidence. 15

             x   Despite previously insisting that Dorsey return all copies of Exhibit B-9 and Dorsey
                 withdrawing it from the record, the NRA and the Brewer Firm filed Exhibit B-9 in


 12
    Id.
 13
    Declaration of G. Michael Gruber.
 14
    March 31, 2020 Correspondence from Mike Gruber to Mike Collins.
 15
    See March 31, 2020 Correspondence from Mike Gruber to Mike Collins; April 1, 2020 Correspondence from Mike
 Gruber to Mike Collins.



 DECLARATION OF COYT RANDAL JOHNSTON                                                               Page 11
                                                                                                  APP043
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                    Page 50 of 70 PageID 8796



                   support of their Motion, putting it back into the Court’s record in this case, which
                   both Dorsey and any other counsel in this case can see. 16

               x   Much of the disagreement over Exhibit B-9 occurred during the time of the COVID-
                   19 shutdown. This timing made it more difficult for Dorsey, and I assume the
                   NRA’s counsel, to evaluate the situation and respond quickly to each other’s
                   positions concerning Exhibit B-9. 17

               x   Dorsey and AMc have a long-standing relationship that spans seven years,
                   including, specifically, a relationship with the deceased Angus McQueen, against
                   whom the NRA bases a majority of its allegations. AMc has invested significantly
                   in Dorsey’s knowledge and strategy in this case. Changing counsel would work a
                   significant hardship and prejudice on AMc. 18

                                               Discussion

         25.       I begin my analysis of these facts with the entrenched Texas case law that

 “[d]isqualification of a party’s counsel is a severe remedy.” In re Nitla S.A. de C.V., 92 S.W.3d

 419, 422 (Tex. 2002) (orig. proceeding) (per curiam). “It can result in immediate and palpable

 harm, disrupt trial court proceedings, and deprive a party of the right to have counsel of choice.”

 Id. “Disqualification can delay proceedings in the trial court, require the client to engage a

 successor attorney, and, in appropriate cases, deprive the client of work product done on his behalf

 by the disqualified attorney.” In re Tex. Windstorm Ins. Ass’n, 417 S.W.3d 119, 129 (Tex. App.—

 Houston [1st Dist.] 2013, orig. proceeding). “Because of the serious consequences of

 disqualification of opposing counsel, such motions can be misused for delay or to exert

 inappropriate leverage to force a settlement.” Id. “The law strongly discourages the use of motions

 to disqualify as tactical weapons in litigation.” Id. To prevent abuse, the trial court “must strictly

 adhere to an exacting standard” in ruling on disqualification motions. NCNB Tex. Nat’l Bank, 765

 S.W.2d 398, 399 (Tex. 1989) (orig. proceeding).



 16
    ECF 109.
 17
    Declaration of G. Michael Gruber.
 18
    Declaration of Revan McQueen.



 DECLARATION OF COYT RANDAL JOHNSTON                                                         Page 12
                                                                                            APP044
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                     Page 51 of 70 PageID 8797



            26.     In forming my analysis, I also rely on settled Texas law that a party seeking to

 disqualify another party’s attorney generally must prove actual prejudice. See, e.g., Busby v. Harvey,

 No. 02-16-00311-CV, 2017 WL 3184732, at *3 (Tex. App.—Fort Worth July 27, 2017, no pet.). “[A]

 court should not disqualify a lawyer for a disciplinary violation that has not resulted in actual

 prejudice to the party seeking disqualification.” In re Meador, 968 S.W.2d 346, 350 (Tex. 1998)

 (orig. proceeding) (citation omitted).

            27.     As Mr. McCormack has noted in his declaration, “the purpose of disqualification is

 either to prevent or correct an ethical conflict of interest or to remedy an ethical breach by opposing

 counsel that cannot be effectively remedied in any less severe way.”19 The facts here do not satisfy

 that standard.

            28.     The NRA does not allege an ethical conflict of interest that disqualification would

 prevent or correct. Instead, the NRA argues for disqualification under the second prong of Mr.

 McCormack’s test: an ethical breach that cannot be remedied effectively by less severe means. But

 Mr. McCormack’s analysis of the six factors enunciated by In re Meador demonstrates that

 disqualification is not proper here. See In re Meador, 968 S.W.2d at 351–52.

            29.     The first Meador factor is whether Dorsey knew or should have known that the

 material was privileged. Mr. McCormack relies heavily upon the fact that the document was labeled

 as privileged and confidential. But labels do not confer protected status; if they did, we still would

 be litigating with the tobacco industry over its labeling of documents as confidential. The lack of

 merit in this argument is perhaps best demonstrated by the fact that, other than the first page of

 Exhibit B-9, the same label is put on every slide of both presentations—and even the NRA concedes

 that the January 4 PPT is not privileged.



 19
      Declaration of James M. McCormiack, ¶ 36.



 DECLARATION OF COYT RANDAL JOHNSTON                                                          Page 13
                                                                                             APP045
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 52 of 70 PageID 8798



        30.     Dorsey received Exhibit B-9 from AMc on January 7, 2020, with three separate

 representations that it was the non-privileged presentation given by non-attorney Carter during the

 Public Affairs Committee meeting where numerous third-parties were present, including several

 AMc representatives. Dorsey representatives did not attend the January 4, 2019 or January 5, 2019

 meetings. Dorsey representatives knew that a presentation was conducted by non-attorney Carter of

 the Brewer Firm for the Public Affairs Committee, and that the presentation touched on numerous

 issues that had historically been handled by AMc. Dorsey did not realize there were two different

 meetings that had occurred on January 4, 2019 and January 5, 2019 until Mr. Collins’ March 3, 2020

 correspondence.

        31.      Dorsey filed Exhibit B-9 under seal on February 12, 2020. Dorsey cited Exhibit B-

 9 to support a proposition—interference with the business of AMc by the Brewer Firm for the

 NRA—having nothing to do with the portion of Exhibit B-9 that differs from the January 4 PPT and

 purportedly renders it privileged. Further, based on its March 2, 2020 response to the Brewer Firm’s

 claim that Exhibit B-9 was privileged, Dorsey again explained its understanding that Exhibit B-9

 was the presentation provided by non-attorney Carter from the Brewer Firm to the Public Affairs

 Committee.

        32.     Dorsey could be criticized for not ferreting out the mistaken belief that Exhibit B-9

 was from the Public Affairs Committee meeting. But, to be fair, the two documents are extremely

 similar. In fact, Exhibit B-9 appears to be a summary of the January 4 PPT with one differing slide

 at issue. Dorsey’s failure to discover the mistake can be explained by its reliance on representations

 from the client that Exhibit B-9 was given at the Public Affairs Committee and by the fact that Dorsey

 was relying upon portions of Exhibit B-9 that are conceptually identical in content to the January 4

 PPT and wholly unrelated to the allegedly privileged portions of Exhibit B-9.




 DECLARATION OF COYT RANDAL JOHNSTON                                                         Page 14
                                                                                            APP046
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                    Page 53 of 70 PageID 8799



        33.     It is my opinion that Dorsey did not know that Exhibit B-9 was privileged when it

 was filed under seal, and it is my opinion that Dorsey was entitled to rely on its client’s

 representations that the Exhibit B-9 was from a non-privileged public meeting that numerous client

 representatives attended.

        34.     The second Meador factor is the promptness with which Dorsey notified the NRA

 that it had Exhibit B-9. Dorsey received Exhibit B-9 on January 7, 2020 and, on February 12, 2020,

 filed the document under seal in support of its opposition to the NRA’s Motion to Compel. Dorsey

 made no effort to hide or deny its possession of the Exhibit B-9 or the fact that they understood that

 it was not privileged.

        35.     Just days after learning about the NRA’s claim that Exhibit B-9 was allegedly

 privileged, Dorsey acknowledged that it had received the communication and would respond the

 following week.     Before the end of the following week, the NRA’s counsel sent another

 correspondence. Dorsey promptly responded to that correspondence on March 2, 2020, and denied

 the assertion that Exhibit B-9 was privileged based on its understanding and belief at the time that it

 was given during a public meeting to the Public Affairs Committee by non-attorney Carter with

 numerous third parties present, including four AMc representatives. Thus, by all appearances, that

 denial was in good faith.

        36.     While there is no obligation to notify opposing counsel about an allegedly privileged

 document in its possession—contrary to Mr. McCormack’s reading of In re Meador—I believe that

 Dorsey promptly adhered to the standards of the profession once it actually learned that it might be

 in possession of a privileged document by notifying counsel of the misunderstanding and thereafter

 immediately withdrawing the document from the Court’s record.




 DECLARATION OF COYT RANDAL JOHNSTON                                                          Page 15
                                                                                             APP047
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                   Page 54 of 70 PageID 8800



         37.     It is my opinion that Dorsey did not delay or attempt to conceal its possession of

 Exhibit B-9. It is further my opinion that Dorsey was entitled to challenge the NRA’s claim of

 privilege on the document and that challenge should not be used to infer bad faith or to seek

 disqualification. Indeed, even when Dorsey agreed to return all copies of Exhibit B-9, it requested

 (for a second time) that the NRA maintain Exhibit B-9 so that the alleged privilege could be

 challenged and because the NRA’s President purportedly testified that she was previously directed

 to destroy evidence.

         38.     The third Meador factor is the extent to which Dorsey reviewed and digested the

 privileged information. Ironically, it is the NRA’s Motion to Disqualify that forced Dorsey to review

 and digest the privileged information in Exhibit B–9. Dorsey generally described the purpose behind

 the January 4 PPT and mistakenly cited to Exhibit B-9 to support its claim that the NRA’s counsel

 was competing with AMc for business – information that was discussed openly in the Public Affairs

 Committee meeting that AMc attended. I understand that Dorsey has never reviewed the “speaker

 notes” from Exhibit B-9. Aside from attaching Exhibit B-9 to AMc’s Response to the NRA’s Motion

 to Compel for the proposition that the Brewer Firm was competing with AMc, Dorsey did not use

 Exhibit B-9. The NRA and Mr. McCormack’s contentions that Dorsey served numerous requests for

 production on December 20, 2019 relating to Exhibit B-9, and specifically the Lockton settlement,

 cannot be true given that Dorsey did not even come into possession of Exhibit B-9 until January 7,

 2020, and as discussed below, information regarding the Lockton settlement was already well-known

 and part of the record in this litigation.

         39.     Dorsey has now digested the information on Exhibit B-9 that was filed under seal in

 ECF 109, but there is no way this issue could have been presented without Dorsey digesting that

 information. The fact that Dorsey was forced to digest that information to confront the claim of




 DECLARATION OF COYT RANDAL JOHNSTON                                                        Page 16
                                                                                           APP048
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                     Page 55 of 70 PageID 8801



 privilege on a document that AMc said was not privileged should not be used to seek Dorsey’s

 disqualification.

          40.     The fourth Meador Factor is the extent to which the NRA is harmed by Dorsey

 having received the document. In Meador, the Supreme Court found an absence of evidence

 suggesting that “the information in the privileged documents [would] significantly prejudice” the

 other party’s claims and defenses in the litigation. In re Meador, 968 S.W.2d at 352. It is my opinion

 that this is also true of this case.

          41.     It is my opinion that the NRA has failed to show credible evidence that it is harmed

 by the disclosure of Exhibit B-9. In reaching this opinion, I rely upon the following facts:

      x   Any harm must be from those portions of Exhibit B-9 that differ from the January 4 PPT and
          the Public Affairs Committee meeting presentation because there can be no prejudice from
          disclosure/use of non-privileged information from the Public Affairs Committee meeting;

      x   Any harm must be in this litigation because there can be no harm outside this litigation as
          the document was filed under seal and no third party has access to that information;

      x   To the extent the court determines that Exhibit B-9 gave AMc and Dorsey information they
          should not have, the court can issue rulings that restrict use/reference to that information,
          thus insuring that the privileged information is not used to the detriment of the NRA;

      x   In September 2019 and December 2019—before Dorsey ever received Exhibit B-9 in
          January 2020—the information from the allegedly privileged portion of Exhibit B-9 (slide 5
          related to the Lockton settlement terms) had been disclosed. That information has been and
          continues to be available to AMc and Dorsey through the prior September 24, 2019
          deposition testimony of Wayne LaPierre, 20 the December 18, 2019 deposition testimony of
          Lieutenant Colonel Oliver North; 21 and the April 18, 2019 correspondence from Mr. North
          to the NRA’s General Counsel, John Frazer, and the NRA’s Chairman of the Audit
          Committee, Charles Cotton, that specifically references and describes the Lockton
          settlement 22;

      x   Disqualification of Dorsey does not protect the NRA because the information on Exhibit B-
          9 is known to AMc and would remain well known to AMc and its new potential counsel,
          even if Dorsey were disqualified, as further evidenced by the fact that it was disclosed in Mr.


 20
    Wayne LaPierre Depo. at p. 163.
 21
    Oliver North Depo. at pp. 209-10; 139-140.
 22
    See OLN 00185.



 DECLARATION OF COYT RANDAL JOHNSTON                                                             Page 17
                                                                                                APP049
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                      Page 56 of 70 PageID 8802



            LaPierre’s deposition, Mr. North’s deposition, Mr. North’s April 18, 2019 correspondence,
            and that the NRA has again filed Exhibit B-9 with the Court; and lastly,

        x   Mr. McCormack only points to “potential” harm to the NRA “in other cases” (which he fails
            to identify), which is an insufficient showing for actual prejudice in this lawsuit to warrant
            disqualification.

            42.      The fifth Meador factor is the extent to which the NRA is responsible for the loss

 of its privileged document. The law imposes on the client and the attorney the obligation of

 protecting confidential information. Negligence relating to the preservation of confidentiality can

 result in forfeiture of confidential status. The court ultimately will decide whether the NRA’s action

 or lack of action extinguished its rights of confidentiality. It is clear that the NRA and its counsel

 bear some responsibility for the loss of control over this otherwise-privileged document. At a time

 when the NRA already was contemplating litigation with AMc—and at least four months after it

 decided to sue AMc:

        x   The NRA, through a non-attorney at the Brewer Firm, gave an AMc employee Exhibit B-9
            in January 2019 months after the NRA had determined that it was going to initiate litigation
            against AMc in September 2018;

        x   The NRA directed the AMc employee load the privileged communication onto an AMc
            laptop;

        x   At the end of the meeting, the NRA simply left Exhibit B-9 on AMc’s laptop, under the care,
            custody, and control of AMc and took no steps to retrieve or otherwise destroy Exhibit B-9;

        x   Even after litigating a similar issue with allegedly privileged PowerPoint presentations
            relating to the April 2019 NRA Board Meetings (that the NRA also intentionally provided to
            AMc and that contained information actually pertaining to the litigation between the NRA
            and AMc), including after learning in a deposition in July 2019 that AMc had the
            presentations after the September and January board meetings, the NRA took no steps to
            retrieve or otherwise discuss Exhibit B-9 until the filing of Exhibit B-9. 23

            43.      Not knowing the NRA was contemplating litigation against AMc, the AMc employee

 provided a copy of Exhibit B-9 to an AMc representative for archiving with other NRA data just as


 23
      Declaration of John Popp.



 DECLARATION OF COYT RANDAL JOHNSTON                                                            Page 18
                                                                                               APP050
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                      Page 57 of 70 PageID 8803



 he had done the day before with the January 4 PPT. A year later in January 2020, that AMc

 representative sent Exhibit B-9 to Dorsey to demonstrate the inconsistent public relations messaging

 between the NRA and the PR manager at the Brewer Firm, which that representative witnessed at

 the Public Affairs Committee meeting. The AMc representative did not realize Exhibit B-9 was

 apparently from the meeting the next day (which he nor other AMc representatives did not attend)

 rather than the Public Affairs Committee meeting (which AMc attended).

            44.     It is my opinion that Dorsey and AMc bear no responsibility for the NRA’s intentional

 disclosure of Exhibit B-9 or the information contained within it.

            45.     The sixth Meador factor is the prejudice that would result to AMc from the

 disqualification of Dorsey.

            46.     AMc and Dorsey have a relationship going back to 2013. Because of Dorsey’s

 longstanding relationship with AMc—and also with its now-deceased former CEO Angus

 McQueen—the firm has unique knowledge and insight that cannot be replicated by any replacement

 counsel. This is especially true given the many allegations made by the NRA against Mr. McQueen.

 I also understand from AMC’s CEO that the disqualification of Dorsey would result in a significant

 financial burden to AMc, who has already been forced to furlough, terminate, or significantly reduce

 the salary of numerous AMc employees as a result of the NRA’s termination of the Services

 Agreement. 24

            47.     I reserve the right to amend, supplement, or withdraw any of my opinions based upon

 additional information I may acquire or otherwise. I reserve the right to form additional opinions.

            I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

 foregoing is true and correct.



 24
      Declaration of Revan McQueen.



 DECLARATION OF COYT RANDAL JOHNSTON                                                           Page 19
                                                                                              APP051
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20              Page 58 of 70 PageID 8804



       Executed this 21st day of May, 2020.




                                              Coyt Randal Johnston




 DECLARATION OF COYT RANDAL JOHNSTON                                             Page 20
                                                                                APP052
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20               Page 59 of 70 PageID 8805



                                COYT RANDAL JOHNSTON
                            JOHNSTON TOBEY BARUCH, P.C.
                              12377 MERIT DRIVE, SUITE 880
                                   DALLAS, TEXAS 752521
                           (214) 741-6260 Phone (214) 741-6248 Fax
                               Email address: randy@jtlaw.com
                                   Website: www.jtlaw.com

 Born in Wheeler, Texas because the hospital in Shamrock was full. Author of the book Robbed
 at Pen Point, published poet, passionate guitar player, father of eight children, and founding
 member of Blue Collar Crime, a Texas blues brotherhood of four lawyers and a guitar legend.

 Randy Johnston began his career practicing law with two large institutional law firms, one in
 Houston and one in Dallas. He left and formed his own firm in 1981 and has been practicing
 with his own firm every since.

                                         EDUCATION

 The University of Texas School of Law, Juris Doctor with Honors
       Honors:        Chairman, Legal Research Board
                      Clerk, Lt. Governor’s Conference on Ethics in Government

 Brigham Young University, Bachelor of Arts Degree
       Major:       English
       Honors:      Track Scholarship (intermediate hurdles)
                    Associate Editor, Wye Magazine (campus literary publication)
                    President, English Circle (Club of English Majors)

 Pampa High School, Pampa, Texas

                               LICENSES/CERTIFICATIONS

 Licensed by State Bar of Texas and State Bar of Utah and many Federal Courts throughout the
 country.
 Board Certified: ”Civil Trial Law,” Tex. Bd. of Legal Specialization, 1981 – present
 Practice limited to litigation, specializing in professional liability.

                             ACKNOWLEDGMENTS/HONORS

 2019 “Texas Trial Titan” Rogge Dunn Group
 2017 “Jim Bowmer Professionalism Award” from the Texas Bar College
 2016 “Trial Lawyer of the Year” from the Dallas Bar Association.
 2016 “Champion of Justice Award” from Legal Aid of NorthWest Texas.
 2012 “Texas Trial Legends Award” from Dallas Bar Association’s Tort & Insurance Practice
 Section.

                                                                    (;+,%,7$


                                                1                                     APP053
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 60 of 70 PageID 8806



 2010 “A Standing Ovation Award” from staff of the State Bar: outstanding volunteer to the State
 Bar CLE Program.
 Dallas Bar Association - Presidential Citation for Law Jam 2; program for fundraising for legal
 aid for the poor.
 Texas Lawyer – “The GoTo Guide” 2007, for Legal Malpractice in Texas
 D Magazine - Best Lawyers in Dallas
 Texas Monthly - Texas’ Super Lawyers
 Who’s Who in American Law

                            PROFESSIONAL ORGANIZATIONS

 The National Trial Lawyers – “Top 100 Civil Plaintiff Attorneys”
         Member
 International Academy of Trial Lawyers
         Fellow, 2009
 American Board of Trial Advocates
         President, Dallas Chapter 2004
 Dallas Bar Association
         Chairperson, Business Litigation Section, 2000
 Dallas Bar Foundation
         Charter Life Fellow
 Dallas Trial Lawyers Association
         President, 1999
  Texas Bar Foundation
         Life Fellow
 Texas Trial Lawyers Association
         Executive Committee Member (2001)

                                             SPEECHES

 Code of Professional Conduct and Zealous Advocacy, SMU Externship Class, 2020

 Deposition Panel, Trial Academy Program, 2019

 Representing a Hero, American Board of Trial Advocates, 2019

 Top 10 Rules to Avoid Malpractice, Corpus Christi Bar Association’s Advanced Civil Trial Law
 Seminar, 2019

 Representing a Hero, Texas Trial Titan, 2019

 Top 10 Malpractice Claims and How to Protect Yourself, State Bar of Texas 44th Annual
 Advanced Family Law Course, 2018

 Judicial Ethics, Jane’s Due Process, 2018




                                                2                                     APP054
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 61 of 70 PageID 8807



 Ethical Risks and Pitfalls, The Knowledge Group Webcast, 2018

 Ethical Issues in Advertising, State Bar of Texas 9th Annual Essentials of Business Law, 2018

 Damages in a Malpractice Case, State Bar of Texas 10th Annual Civil Litigation Course, 2018

 Anatomy of a Trial: Closing Arguments Lecture, Dallas Bar Trial Academy, 2017

 How to Pick a Jury in a Legal Malpractice Case: National Legal Malpractice Conference, 2017

 The Art of Business Litigation: A conversation, Texas Lawyer, 2017

 Professional Malpractice, State Bar of Texas 11th Annual Fiduciary Litigation Course, 2016

 You May be Paranoid, But They Really Are Out There and After You: Malpractice and Ethical
 Concerns of Estate Planners, Minnesota CLE, 2016

 Ethics: Not a Game (Show), Oklahoma Bar Association, 2016

 Ethical Issues in Pre-Trial & Trial Investigations, Dallas Bar Ethics Fest, 2016

 Asleep at the (Ignition) Switch? The Texas General Counsel Forum, 2016

 Litigating a Malpractice Case, State Bar of Texas Webcast, 2016

 Latest Developments in Ethics and Malpractice in Texas, Denton Bar, 2016

 Litigating a Malpractice Case, State Bar of Texas Webcast, 2015

 Reptile and Rules of the Road, Trial Skills, 2015

 Ethics Not a Game (Show), State Bar of Texas 25th Entertainment Law Institute, 2015

 Trying Legal Malpractice Cases, Legal Malpractice Program, 2015

 Proving Up a Business Case, State Bar of Texas Business Disputes, 2015

 Attorney Client Disclosure Rules and Those Pesky Ethics, Legal Seminar on Ad Valorem
 Taxation Conference, 2015

 Knowing Where the Ice is Thin, Dallas Bar, 2015

 Malpractice, State Bar of Texas 38th Advanced Civil Trial Course, 2015

 General Motors Ignition Switch Issue, General Counsel Forum, 2015




                                                 3                                     APP055
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 62 of 70 PageID 8808



 The Art of Business Litigation: A conversation, Texas Lawyer, 2015.

 Tips to Avoid Legal Malpractice, Baker Botts Clinic, 2015

 Robbed at Pen Point, Mesquite Ambucs, 2014

 The Art of Business Litigation: A Conversation, Texas Lawyer, 2014

 Avoiding Legal Malpractice: Traps for the Unwary; Dallas Bar CLE Committee, 2014

 Legal Advice for Businesses; Duncanville Rotary Club, 2014

 Dealing with Clients: Selecting, Attracting Maintaining and Firing; Dallas Bar, 2014

 Top Ten Ways to Avoid Malpractice; Texas Tech Extern Class Panel, 2013

 Malpractice and Ethics; American College of Trust and Estate Counsel, 2013

 Ethics in Business Litigation; State Bar of Texas Business Disputes, 2013

 Malpractice Traps for the Beginning Lawyer; Dallas Bar, 2013

 War Stories; Peer Assistance Committee, 2013

 Top 10 Ways to Avoid Malpractice; Arlington Bar, 2013

 Malpractice Issues; Houston Bar Appellate Section, 2013

 In-House Counsel Summit Roundtable; 2013

 Texas-Style Malpractice Update; Association of Professional Responsibility Lawyers, 2013

 Danger Zones and Red Flags in Engagement Letters, Dallas Bar Association, 2013

 Hooked on Ethics – The T & E Lawyer’s Impossible Dilemma; 47th Annual Heckerling Institute
 on Estate Planning, 2013

 Malpractice; State Bar of Texas Sex, Drugs and Surveillance Course, 2013

 Ethics Considerations for Solo & Small Firms Attorneys; Dallas Association of Young Lawyers,
 2012

 Presentation on the firm’s pending case before the Supreme Court; Texas Lawyer’s Insurance
 Exchange’s National Association of Bar Related Insurance Companies Annual Meeting, 2012

 The Trial of Wyatt Earp (Anatomy of a Trial), Litigation Institute for Trial Training, 2012




                                                 4                                       APP056
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20               Page 63 of 70 PageID 8809




 Robbed at Pent Point, Kansas City Association of Financial Professionals’s Finance and
 Treasury Conference, 2012

 Legal Ethics and Malpractice Issues for Appellate Lawyers, State Bar of Texas 26th Annual
 Advanced Civil Appellate Practice, 2012

 Client as Consumer: Handling the Legal Malpractice Claim; State Bar of Texas Advanced
 Consumer and Commercial Law Course, 2012

 Navigating the Minefield – Avoiding Malpractice Claims and Grievances; 14th Annual State Bar
 College Summer School, 2012

 Why I Sue Lawyers; North Dallas Bar Association, 2012

 Current Ethical Issues, Women Lawyer’s of Tarrant County, 2012

 Ethical Consideration of Social Media; Law and Media, 2012

 Law Practice Management; Dallas Minority Attorney Program, 2012

 How to Avoid Being Robbed at Pen Point, TEXPO Striving for Excellence, 2012

 Legal Malpractice – Ethics Presentation, Intellectual Property Law Course, 2012

 Judicial Ethics Code, Judicial Independence Panel, 2012

 Protecting Yourself from Scams, American Association of University Women, 2012

 Death Penalty Panel, SMU Dedman School of Law’s American Constitution Society, 2012

 Advertising Rules for Attorneys, Tarrant County Bar Association’s Diversity Committee, 2012

 Tips From the Trenches: The Top Ten Things that Get Young Lawyers In Trouble for
 Malpractice and Lesson in Avoidance, Dallas Association of Young Lawyers’ Leadership Class
 and Professionalism Presentation, 2011

 I Think You Made A Mistake: Watch What I Will Do To You Now!, American College of Trust &
 Estate Counsel’s Fall Meeting, 2011

 What Every Business Tort Lawyer Should Know About Legal Malpractice, State Bar of Texas’
 Business Torts Institute, 2011

 Liability for Government Lawyers, Regional Assistant Attorney General’s RAAnGer Roundup in
 Big D, 2011




                                               5                                      APP057
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                Page 64 of 70 PageID 8810



 Top Ten Ways to Avoid Being Sued, Collin County Bar Ethics Seminar, 2011

 How Family Law Attorneys Can Best Avoid Being Sued, Dallas Bar Association’s Family Law
 Bench Bar Conference, 2011

 Malpractice Traps, State Bar of Texas, Webcast 2011

 Blazing New Trails in Professional Liability, Professional Underwriter Society Panel
 International Conference, 2010

 Malpractice Trends, State Bar of Texas 33rd Annual Advanced Civil Trial Course, 2010

 Ethics Jeopardy, Bench Bar Conference, 2010

 Legal Malpractice Traps, National Employment Lawyer’s Association, 2010

 What Partnership and LLC Drafting Errors are Likely to Make you a Malpractice Target, Dallas
 Bar Association’s Tax Section, 2010

 Avoiding Malpractice Pitfalls in Probate Litigation, Tarrant County Probate Litigation Section,
 2010

 Ethics from the Judges’ Perspective, Panel Moderator, Dallas Association of Young Lawyers
 Sumer CLE Day, 2010

 Legal Malpractice Traps, State Bar College Summer School, 2010

 Attorney-Client Privilege In Dealing with Auditors, The Center for American and International
 Law’s 2010 Symposium: Globalization for In-house and Outside Counsel, 2010

 Malpractice Trends, Dallas Bar Association’s Trial Skills, 2010

 File Documentation, Retention and Destruction, Collin County Bar Association’s Estate
 Planning & Probate Section, 2010

 Top Ten Ways to Avoid Getting Sued for Malpractice, Dallas Bar Association’s Ethics Fest
 Program, 2010

 Preventing Legal Malpractice: Common Pre-Trial Mistakes, State Bar of Texas 4th Annual
 Spring Training: Winning Before Trial, 2010

 Grievances and Legal Malpractice, State Bar of Texas 2010 Advanced Medical Malpractice
 Course, 2010

 Land Mines, Quick Sand and Sand Traps, Texas Wesleyan Alumni, 2010




                                                6                                       APP058
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20               Page 65 of 70 PageID 8811



 Legal Malpractice Update, 26th Annual Litigation Update Institute, 2010

 Suing and Defending Financial and Legal Professionals, UT Law’s 33rd Page Keeton Civil
 Litigation Conference, 2009

 File Documentation, Retention and Destruction, Dallas Bar Association’s Probate Ethics Panel,
 2009

 Robbed at Pen Point, North Tarrant Bluebonnet Chapter of the International Association of
 Allied Professionals, 2009

 Ethical Dilemmas and Navigating the Ethical Pitfalls of Online Networking, Dallas Association
 of Young Lawyer’s Dinner with the Judiciary, 2009

 Ethical Considerations In Representing Closely-Held Companies, Tarrant County Bar
 Association’s Corporate Counsel Section, 2009

 Malpractice and Ethics Update, State Bar of Texas 19th Annual Entertainment Law Institute,
 2009

 Ethics, Dallas Bar Association’s Annual Review of Oil & Gas Law XXIV, 2009

 Avoiding Malpractice and Ethics Violations in Consumer Practice, State Bar of Texas Advanced
 Consumer and Commercial Law Course, 2009

 Legal Malpractice Update, State Bar of Texas 32nd Annual Advanced Civil Trial Course, 2009

 Attorney Malpractice: What Partnerships and LLC Drafting Errors are Likely to Make you a
 Target, UT CLE, 2009

 Navigating the Quagmire of Potential Claims Against Lawyers Who Represent Fiduciaries and
 Other Clients in an Estate, Trust, Probate and Guardianship Practice, Spring Institute, 2009

 Lessons Every Trial Lawyer Has to Learn, College of Law’s Society of Legal Studies and
 Business, 2009

 Robbed at Pen Point, Preston Center Rotary Club, 2009

 Legal Malpractice Update, State Bar of Texas 25th Annual Litigation Update Institute, 2009

 Ethics and Legal Malpractice in the Current Economic Crisis, Dallas Bar Association’s CLE
 Committee, 2008

 Ethics and Malpractice Myths and Reality, Dallas Bar Association’s Entertainment Law Section,
 2008




                                                7                                     APP059
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                Page 66 of 70 PageID 8812



 Real and Imagined Ethical and Malpractice Issues, State Bar of Texas Consumer and
 Commercial Law Course, 2008

 Fiduciary Litigation Update, Tarrant County Bar Association’s Navigating Troubled Waters:
 Legal Issues in an Uncertain Economy, 2008

 Ethics Not a Game, 18th Annual Entertainment and Law Institute’s Legal and Business Aspects
 of Film, Music, Sports and Digital Media, 2008

 Evaluating and Handling the Legal Malpractice Case, State Bar of Texas Consumer and
 Commercial Law Course, 2008

 Ethical and Malpractice Issues, Review of Oil & Gas Law XXIII, 2008

 Attorney Advertising Rules Guidelines and Their Application for Websites, State Bar of Texas:
 Webcast, 2008

 Malpractice Traps for the Beginning Lawyer, Transition to Law Practice Program, 2008

 File Documentation, Retention and Destruction, Collin County Bar Association’s Estate
 Planning & Probate Section, 2008

 Recent Developments in Legal Ethics with Respect to Representing Healthcare Providers, Dallas
 Bar Association’s Healthcare Section, 2008

 Recent Developments in Legal Malpractice, Dallas Bar Association’s Annual Ethics Fest, 2008

 Ethics in the Internet, Texas Trial Lawyer’s Association: Personal Injury Seminar, 2008

 Avoiding Your Worst Nightmare-Managing to Stay Out of Trouble, Dallas Minority Attorney
 Program, 2008

 Staying out of the Cross-hairs: Avoiding Malpractice Claims, Dallas Bar Association’s Ethics
 Committee, 2008

 Protecting Ourselves: Attorney Liability Issues, State Bar of Texas: Webcast, 2008

 Why I Sue Lawyers, Park Cities Club – Expert Witness Association, 2008

 Malpractice, Ethics and Fee Disputes, State Bare of Texas: Webcast, 2007

 The Three Corner Problem, Ethics Dilemmas in Legal Malpractice, 2007

 File Documentation, Retention and Destruction, State Bar of Texas Advanced Drafting: Estate
 Planning and Probate, 2007




                                                8                                      APP060
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                Page 67 of 70 PageID 8813



 Why I Sue Lawyers, Great American Insurance Group’s CLEver! Ethics, 2007

 Internet Advertising, Dallas Bar Association’s 16th Annual Bench Bar, 2007

 Evaluating and Handling the Legal Malpractice Case, State Bar of Texas Consumer and
 Commercial Law Course, 2007

 Malpractice Prevention & Disciplinary Rules, State Bar of Texas 30th Annual Advanced Civil
 Trial Course 2007

 The Art of Cross Examination, Dallas Bar Association’s Tort and Insurance Practice Section,
 2007

 Belt Update - Practical “Belts” and Suspenders Panel Discussion of How to Plan to Defend the
 “But Daddy Would Have Wanted to Save All Taxes” Claim, Texas Bar’s 31st Annual Estate
 Planning and Probate Course, 2007

 Magical Ethical Mystery Tour, Dallas Bar Association’s Annual Ethics Fest, 2007

 Belt Case –State Bar of Texas: Webcast, 2007

 Malpractice Issues in Probate and Estate Planning, Dallas Bar’s Probate, Trusts & Estates
 Section, 2007

 Malpractice Traps: Advising the Insolvent Client, State Bar of Texas 25th Annual Advanced
 Business Bankruptcy Course, 2007

 Legal Malpractice Roundtable, 2006

 Ethics Panel, Texas Bar’s 29th Annual Advanced Civil Trial Course, 2006

 Professional Liability Lawsuits and Successful Strategies, Dallas Bar Association’s Business
 Litigation Section, 2006

 Law & Ethics Issues for the Estate Planner, The Center of American and International Law’s
 44th Annual Program on Wills, Trusts, and Estate Planning, 2006

 Belt v. Oppenheimer, Dallas Bar Association’s Probate Study Group, 2006

 Legal Malpractice Roundtable, Texas Lawyer’s Roundtable Event, 2006

 Ethics Issues for the Practicing Entertainment Lawyer, 15th Annual Entertainment Law Institute
 Legal and Business Aspects of Music, Motion Pictures, and Digital Entertainment, 2005

 Malpractice, Ethical and Fee Disputes, The San Antonio Estate Planners Council’s - Estate
 Planning, Probate, and Guardianship Seminar, 2005




                                                9                                      APP061
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 68 of 70 PageID 8814




 Malpractice Exposure for Lawyers in Insurance Related Matters, 9th Annual Insurance Law
 Institute. The University of Texas School of Law, 2004

 Ethics Issues in Estate Planning; 43rd Annual Program on Wills, Trusts & Estate Planning. The
 Center for American and International Law, 2004

 The Cost of Being a Gunfighter; Legal Ethics Committee of the Dallas Bar Association, 2004

 Current Legal Malpractice Issues, Tort and Insurance Section of the Dallas Bar Association,
 2004

 Ethical and Malpractice Issues for the Estate Planning and Probate Practitioner, Texas Bar
 CLE presents the 28th Annual Advanced Estate Planning & Probate Course, 2004

 Legal Malpractice in Texas, Insurance Issues. Lorman Education Services Seminar, 2004

 Ethics and Malpractice, Collin County Probate Section, 2004

 Ethics and Malpractice, Employment Section of the Dallas Bar Association, 2004

 Ethics and Malpractice; Probate Section of the Dallas Bar Association, 2003

 Mediating Across the Goal Line: Medical and other Professional Malpractice. The Alternative
 Dispute Resolution Section of the State Bar of Texas, 2003

 A Review of Ethics Opinions. 19th Annual Advanced Personal Injury Law Course. State Bar of
 Texas, 2003

 Ethics and Malpractice for the Criminal Practitioner: DWI Seminar. Texas Criminal Defense
 Lawyers Association, 2003.

 Ethics and Malpractice Issues. Real Property Section of the Dallas Bar Association, 2003.

 “Malpractice and Ethics’ Panel Discussion” National Law Review, Litigation Summit and
 Exposition, 2002.

 Trial Demonstration: Direct and Cross of Legal Malpractice Expert. State Bar of Texas, 2002.

 Tactics-Tactics-Tactics. Texas Trial Lawyer’s Association, 2001.

 Advanced Expert Witness Course II. State Bar of Texas, 2001.

 Hot Tips for Hot Times: Malpractice and Fee Disputes. Texas Trial Lawyer’s Association,
 2000.




                                                10                                     APP062
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20               Page 69 of 70 PageID 8815



 Prejudgment and Post Judgment Interest:        Damages Symposium.       Texas Trial Lawyers
 Association, 1999.

 Malpractice and Fee Disputes. 15th Annual Advanced Personal Injury Law Course, State Bar of
 Texas, 1999.

 Legal Malpractice, Settlement Negotiations, Breach of Fiduciary Duties, and Multiple Clients,
 14th Annual Personal Injury Law Course. State Bar of Texas; 1998; 15th Annual Personal Injury
 Law Course, 1999.

 Proving Emotional Damages in Employment Cases: The Nuts and Bolts of Plaintiff’s
 Employment Litigation VI, An Employment Law Seminar for the Plaintiff’s Employment
 Lawyer. The Dallas-Fort Worth Chapter of the National Employment Lawyers Association,
 1998.

 Personnel Law Update. The Council on Education in Management, 1997.

 Voir Dire and Opening Statements: Super Store of Continuing Legal Education, State Bar of
 Texas, 1996.

 Masters in Trial: Examination of Plaintiff. The Foundation of the American Board of Trial
 Advocates, Dallas and Fort Worth Chapters, 1996.

 Medical Devices and Drug Litigation: Advanced Products Liability Course. Texas Trial
 Lawyers, 1995.

 Enforcement Panel: Recent Developments. 17th Annual Conference on Securities Regulation
 and Business Law Problems. The University of Texas School of Law, The Fort Worth Regional
 Office of the U.S. Securities & Exchange Commission, The Texas State Securities Board, and
 the State Bar of Texas Section on Business Law, 1995.

 Masters in Trial : Cross-Examination of Defendant. The Foundation of the American Board of
 Trial Advocates, Dallas and Fort Worth Chapters, 1995.

 Winning in Mediation: Nuts and Bolts. Dallas Trial Lawyers Association, 1994.

 Winning in Opening Statements: Learning from the Masters. Dallas Bar Association, 1993.

 Litigating with the Drug Companies: Discovery - Getting Down to Basics. Texas Trial Lawyers
 Association, 1992.

 Arbitration of Disputes with Broker-Dealers. 13th Annual Conference on Securities Regulation
 and Business Law Problems. The University of Texas School of Law, The Fort Worth Regional
 Office of the U.S. Securities and Exchange Commission, The Texas State Securities Board and
 the State Bar of Texas Section on Business Law, 1991.




                                               11                                     APP063
Case 3:19-cv-02074-G-BK Document 128 Filed 05/21/20                 Page 70 of 70 PageID 8816



 There’s More to it than Title VII: The Nuts and Bolts of Plaintiff’s Employment Litigation. 8th
 Annual National Employment Lawyers Association Seminar.

 This Gun’s for Hire, Even if we’re just Dancing in the Dark. Bank One, In-House Seminar.


                              ARTICLES AND PUBLICATIONS

 Legal Malpractice and Breach of Fiduciary Duty: Beware Fracturing, The Advocate, Fall 2017

 The Art of Business Litigation: A conversation, Texas Lawyer, 2017

 Contributor Texas Business Litigation – Chapter 15: Ethics, Texas Lawyer, 2014

 Beware of Limitations Traps on Legal Malpractice Claims, Texas Lawyer, November 2013

 Attorneys’ Fees Problem Area and How to Avoid Fee Disputes, Texas Bar Journal, October
 2012.

 The Disciplinary Rules That Weren’t: Now What? The Advocate, December 2011.

 Mediating Professional Liability Cases – Practical Tips for Success, Texas Lawyer, November
 2011.

 Advice From The Field, The Advocate, Volume 55, Summer 2011.

 Robbed at Pen Point by Randy Johnston, 2008.

 A Lawyer Who Sues Lawyers, The Dallas Morning News, August 19, 2007.

 Coyt Randal Johnston Leaves Quite A Memorable Impression, The Turtle Creek News, April 4,
 2004.

 Curtail Voir Dire? A Practitioner Responds, Texas Lawyer, February 24, 1997.

 Death Takes Center Stage, Texas Lawyer, January 19, 1998.

 In Fierce Defense of Lawyer Bashing, Dallas Business Journal, November 30, 1990.

 On Being held Accountable for Electric Forks, Inc., The Dallas Chapter, CPA News, April 1991.

 The Ultimate Trip, Texas Lawyer, January 5, 1998.

 The Worst Address in Texas, Texas Lawyer, January 12, 1998.




                                                 12                                      APP064
